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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

ISIAH WHITE, Individually and                                                        PLAINTIFF
on Behalf of All Others Similarly Situated

v.                                Case No. 4:20-cv-00742-KGB

SKIPPY FOODS, LLC, et al.                                                        DEFENDANTS

                                            ORDER

       Before the Court plaintiff Isiah White’s unopposed motion for voluntary dismissal without

prejudice (Dkt. No. 8). Mr. White desires to dismiss voluntarily this lawsuit under Federal Rule

of Civil Procedure 41 (Id., ¶¶ 1, 3). Mr. White’s counsel has conferred with counsel for defendants

Skippy Foods, LLC (“Skippy”); Hormel Corporation (“Hormel”); Hormel Foods Corporate

Services, LLC (“HFCS”); and Hormel Foods Sales, LLC (“HFS”) (collectively, “defendants”),

and defendants do not oppose this motion (Id., ¶ 6). For good cause shown, the Court grants Mr.

White’s unopposed motion for voluntary dismissal without prejudice (Dkt. No. 8). The Court

dismisses Mr. White’s claims without prejudice.

       So ordered this the 21st day of October, 2020.


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                                                     Kristine G. Baker
                                                     United States District Judge
